                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF VIRGINIA
                                 ROANOKE DIVISION

UNITED STATES OF AMERICA                         )
                                                 )
v.                                               )           Case No.:        7:17-PO-00026
                                                 )                            7:17-PO-00027
DENG M. ASHWIL                                   )

                                             ORDER

        The Defendant stands charged before this Court with a petty offense. As the result of

proceedings held on this date, at which the Defendant pleaded guilty and the Government

proffered evidence of the offense to the Court, I hereby FIND facts sufficient to find the Defendant

guilty of the charged offense. I further find it proper to TAKE UNDER ADVISEMENT a finding

of guilt and any sentencing disposition until June 15, 2017, subject to the following conditions:

        1. The Defendant shall complete 20 hours of community service, and provide a certificate

           of completion to Charlene Day, Assistant United States Attorney, United States

           Attorneys Office, 310 First Street, SW, Room 906, Roanoke, VA 24008.

        2. The Defendant shall not violate any federal, state or local law.

        Upon satisfaction of these terms and conditions, the Court will dismiss the charges. Failure

to comply with all terms and conditions set forth above may result in a finding of guilt, and a

disposition subjecting Defendant to any penalties provided for under federal law.

        It is so ORDERED.

                                              Enter: March 24, 2017
                                              /s/ Robert S. Ballou
                                              Robert S. Ballou
                                              United States Magistrate Judge




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